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Activity V.1.1.2

 

V1.2

Review General Order No. 2008-13 entitled “Rules and
Procedures for the Receipt, Custody, Delivery, and Disposition of
Property Constituting Evidence’ with the purpose of ensuring an
effective control of the evidence from the beginning of a criminal
act, to the collection thereof, and until it is presented at trial.

 

Due Date

September 2016

 

TCA Assessment

This General Order was created on September 30, 2016 and
reviewed by the TCA in Octaber 2016, with changes incorporated
in November 2016.

The policy is still pending approval as of May 2017.

 

Recommendations

The TCA will continue annual reviews in accordance with
Agreement requirements

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
step of the Action Plan

 

 

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Activity V.1.1.3
V.IA13 Review General Order, Chapter 600, Section 612, entitled

“Authority of the Puerto Rico Police Department to Conduct
Searches and Seizures” to incorporate the recommendations of the
TCA and USDOJ.

 

Due Date

August 2015

 

TCA Assessment

Approved by Superintendent November 2015.

The annual review of this general order was last conducted by the
TCA in March 2017.

 

Recommendations

The TCA will continue annual reviews in accordance with
Agreement requiremenis

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
step of the Action Plan

 

 

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TCA Sixth Semi-Annual Report: Appendix 4 BOR?
Activity V.1.1.4
ViL41.4 Develop a protocol for the digital recording and storage of

communications between the immediate supervisor and the
MPRPD through Command Center and Radio Control
communication channels in which the MPRPD states the elements
of probable cause he or she used to make an arrest for a felony,
obstruction of justice, or resisting arrest.

 

Due Date

May 2016

 

TCA Assessment

A protocol has been created by PRPD and submitted to the TCA on
May 31, 2016.

it has been reviewed by the TCA and approved by the
Superintendent in October 2016.

Legacy system is in place in Zones of Excellence and San Juan
Area- no new system yet due to cost considerations.

 

Recommendations

The TCA will continue annual reviews in accordance with
Agreement requirements

 

TCA Rating

 

 

Timeframe was met

The Commonweaith of Puerto Rico is in partial compliance with this
step of the Action Plan

 

 

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il. Reporting and Data Collection Objectives.

Activity V.11.1.4

 

VAL.1

Develop an information subsystem to collect incidents resulting in
arrests and searches, using the National Incident-Based Reporting
System as a reference. The printed forms used for such purposes
(PPR-853, Plan to Carry Out Arrests/Detentions and
Searches/Seizures, and PPR-880, Member of the PRPD Incident
Report Narrative) will be also taken into consideration.

 

Due Date

12 months (once NIBRS and any other policies affecting System
are approved and signed by Superintendent). (Estimated date:
January 2017)

 

TCA Assessment

Ali data gathering is still manual as of the end of April 2017.
This subsystem will be contempiated in the National Incident-
Based Reporting System included in the Equal Protection and
Non-Discrimination Compliance Area Action Plan. The
subsystem will be initially implemented in the Zones of
Excellence and then gradually in all work units, as established in
the Information Systems and Technology Compliance Area
Action Plan.

In May 2017, TCA reports that the system has not been
developed.

 

Recommendations

 

TCA Rating

 

 

Timeframe was not met

The Commonwealth of Puerto Rico is in non- compliance with this
step of the Action Plan based on non-automated analysis.

 

 

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Activity V.I.7.2
VAL 4.2 When it incorporates the TCA and USDOJ recommendations into

General Order, Chapter 600, Section 612, entitled “Authority of the
Puerto Rico Police Department to Conduct Searches and
Seizures,” the PRPD will ensure that all MPRPDs will be required
to obtain and document a person's consent to a voluntary search
of his or her person or vehicle unless a search without the person’s
consent is legally justified.

 

Due Date August 2015

 

TCA Assessment During this reporting period, the TCA conducted follow-up site
visits fo San Juan Drug Unit, Vehiculos Hurtados (M/V Theft Unit)
Divisions in Humacao, San Juan, Ponce; CICI's in Fajardo,
Humacao, Bayamon, Ponce; and Transit Division in Fajardo,

The TCA found that Consents to Search, are being properly
documented on PPR-879.
Recommendations See Section ] of Report

 

 

TCA Rating Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
step of the Action Plan based on non-automated analysis.

 

 

 

 

 

 

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Activity V.11.1.3
VAALE3 Upon the annual review of General Order, Chapter 600, Section

615, entitled “Authority of the Puerto Rico Police Department to
Conduct Arrests and Serve Warrants,” the PRPD will ensure that it
maintains the requirement that MPRPDs continue informing the
Command Center and a supervisor immediately after making an
arrest, or as soon as possible.

 

Due Date

December 2014

 

TCA Assessment

For this period, the TCA inspected several sites, including PRPD
CIC's, Vehiculos Hurtados (Auto Theft Unit), Drug Units, Transit
Units, and Police Areas, and found that supervisors are being
notified when an arrest was made.

 

Recommendations

See Section II of Report

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
step of the Action Plan based on non-automated analysis.

 

 

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Activity V.11.1.4

 

V.I.1.4

Develop an automated system for the digital recording and storage of
communications between the immediate supervisor and the MPRPD
through Command Center and Radio Control communication channels
that have been used to communicate the elements of probable cause
used to make an arrest for a felony, obstruction of justice, or resisting an
MPRPD. This system will be initially implemented in the Zones of
Excellence and gradually in the subsequent work units, as established
in the Information Systems and Technology Compliance Area
Action Plan,

 

Due Date

18 months once corresponding policy (NIBRS) is approved

 

TCA Assessment

This sub-section is dependent on the Infermation Systems and
Technology Compliance Action Plan, which is being worked on as of
April 2017. This subsection is dependent on approval of NIBRS policy
which is pending as of May 2017.

 

Recommendations

 

TCA Rating

 

 

For rating, see the Information Systems and Technology Compliance
Action Plan

 

 

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lll. Review and Investigation Objectives:

Activity V.11.1.1

 

VAL 1.4

PRPD Supervisors must review each search and seizure report to
evaluate and determine if the search and seizure was conducted in
accordance with the provisions of PRPD policies and the Agreement

 

Due Date

Not Applicable

 

TCA Assessment

For this reporting period, the TCA-CT randomly inspected several
search warrant files, including applications and affidavits at several
PRPD ClC’s, Vehiculos Hurtados (Auto Theft Unit}, Homicide Units,
Drug Units and Transit Units for compliance.

All pertaining PPR forms inspected were completed and signed
accordingly (PPR-853, PPR264, PR-879, PPR-468, PPR-880, PR-126,
PPR-47, PPR-82, and PR-128, etc.) by supervisors and officers, and
appeared to have been checked and approved by supervisors.

 

Recommendations

See Section II of Report

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this step of
the Action Plan based on non-automated analysis.

 

 

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Activity V.l1.1.2
Vil, 1.2 The PRPD will use the information subsystem to collect and review, on a

monthly-basis, incidents that result in arrests and seizures. This
subsystem will be contemplated in the National Incident-Based
Reporting System included in the Equal Protection and Non-
Discrimination Compliance Area Action Plan. The subsystem will be
initially inplemented in the Zones of Excellence and then gradually in ail
work units, as established in the Information Systems and
Technology Compliance Area Action Plan.

On a yearly basis, the PRPD will perform a complete analysis of the
compiled information about searches and seizures conducted to identify
significant trends with the purpose of correcting the deficiencies that are
identified, pursuant to the law and generally accepted police practices.

 

 

 

 

 

 

Due Date On a yearly basis after approval of corresponding general orders.

TCA Assessment | This subsystem will be contemplated in the National Incident-Based
Reporting System included in the Equal Protection and Non-
Discrimination Compliance Action Plan. This sub-section is
dependent on the Information Systems and Technology Compliance
Action Plan, which is stil being worked on as of the end of May 2017.

Recommendations

TCA Rating For rating see the Equal Protection and Non-Discrimination Compliance

Action Pian.

 

 

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Activity V.11.1.3

 

VANA.3 Conduct an evaluation of the PRPD human resources, taking into
account their status and the operational and administrative work
performed by the employees, in order to identify existing needs and,
later on, make decisions in order to determine the number of supervisors
needed to meet the requirement. This activity will be part of the
Professionalization Compliance Area Action Plan.

 

Due Date N/A

 

TCA Assessment | This activity will be part of the Professionalization Compliance Area
Action Pian, which is in progress as of May 2107.

 

Recommendations

 

TCA Rating For rating, see the Professionalization Compliance Area Action Plan.

 

 

 

 

 

 

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IV. Training Development Objectives:

Activity V.1V.1.1

 

 

 

 

 

 

VAIV.141 The Auxiliary Superintendency for Education and Training (SAEA)
will create courses to train all MPRPDs through instructors certified
by SAEA.

The training courses are as follows:

1.1.1. Training on General Order, Chapter 600, Section
615, entitled “Authority of the Puerto Rico Police
Department to Conduct Arrests and Serve
Summons’; and

1.1.2. Training on Generai Order [entitled] “Rules and
Procedures for the Receipt, Custody, Delivery, and
Disposition of Property Constituting Evidence” with
the purpose of ensuring an effective contro! of the
evidence from the beginning of a criminal act, in the
collection thereof, and until it is presented at trial.

Due Date Designing training courses corresponding to policies will begin once
policy has been approved and signed in accordance with process
established in Appendix B — Training Design Process.

TCA Assessment 1.1.1. Training module on GO 600-615, Arrests and Summons,

was reviewed and approved by the TCA;
1.1.2 This training module has not been created as of May 2017

Recommendations none

 

 

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Man,

 

 

 

TCA Rating

 

Timeframe was met for GO 600-615. Timeframe pending for 1.1.2.

The Commonwealth of Puerto Rico is in partial compliance with this
detailed step of the Action Pian until 1.1.2 training is developed.

[ncte: Having met the 50% requirement on or before October 2016,
the Commonwealth of Puerto Rico is in partial compliance with G.O.
615 training. With 84% current compliance, it is well underway to
achieve full compliance by October 2017.

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance with 1.1.2 cannot be assessed during this reporting
period]

 

 

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Activity V.IV.1.2

 

VAM. 4.2

Review training on General Order, Chapter 600, Section 612,
entitled “Authority of the Puerto Rico Police Department to conduct
Searches and Seizures,”

 

Due Date

Designing training courses corresponding to policies will begin once
policy has been approved and signed in accordance with process
established in Appendix B — Training Design Process.: April 27,
2016

 

TCA Assessment

The TCA reviewed and approved the training curriculums on this
general order for new police cadets and for in-service training in
May 2016. As of May 2017, training is on-going and is at 36% of the
Department.

 

Recommendations

See Section II of the Report regarding prioritization and uneven
progress

 

TCA Rating

 

 

Timeframe was met.

The Commonwealth of Puerto Rico is in full compliance with the
detailed step of the Action Plan.

(Note: Having to meet the 50% requirement on or before August
2017, the Commonwealth of Puerto Rico is in partial compliance
with Phase | of G.O 612 training. With 36% current compliance, it is
well underway to achieve partial compliance by October 2017]

 

 

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Activity V.IV.1.3

 

V.IV.1.3

Develop a Training Program for Supervisors and High-Ranking
Officers on arrest, search, and seizure policies, writing techniques,
and report review.

 

Due Date

Designing training courses corresponding to policies will begin
once policy has been approved and signed in accordance with
process established in Appendix B — Training Design Process.

 

TCA Assessment

In May 2017, policy has been approved; and training is on-going.

The TCA has reviewed signed class rosters at the PRPD Academy
and at the Area Police Headquarters where training is also
happening. The TCA has also audited a Search and Seizure class
at the PRPD Academy.

 

Recommendations

none

 

TCA Rating

 

 

Timeframe was met.

Whether the Commonwealth of Puerto Rico is in full, partial, or
non-compliance cannot be assessed during this reporting period.

 

 

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Activity V.IV.1.4

 

V.IV.1.4

Develop training for the personnel! assigned to the Command
Center and Radio Control on how to use the automated system for
the digital recording and storage of the communications between
the immediate supervisor and the MPRPD through the Command
Center and Radio Control communication channels,

 

Due Date

Designing training courses corresponding to policies will begin once
policy has been approved and signed in accordance with process
established in Appendix B — Training Design Process

 

TCA Assessment

This sub-section is dependent on the information Systems and
Technology Compliance Area Action Plan, which is being
worked on as of end of May 2017. However, training has been
reviewed and approved by the TCA.

 

Recommendations

 

TCA Rating

 

 

For rating, see the Information Systems and Technology
Compliance Area Action Plan

 

 

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V. Training Implementation Objectives:

Activity V.V.1.1

 

VV.4-4 Within the twelve (12) months following the final approval of the
training material and the incorporation of the changes
recommended, the SAEA will simultaneously train fifty percent (50%)
of MPRPDs through its certified instructors. The remaining fifty
percent (50%) of the MPRPDs will be trained within the following
twelve (12) months, once the training of the first group has been
completed. Training will begin on the date indicated in the
announcement issued by the SAEA and the training plan provided
by each police area and auxiliary superintendency upon SAEA

approval.

The training to be implemented will cover the foltowing topics:

a. Training on General Order, Chapter 600, Section 615,
entitled “Authority of the Puerto Rico Police Department to
Conduct Arrests and Serve Summons”, and

b. Training on General Order [entitled] “Rules and Procedures
for the Receipt, Custody, Delivery, and Disposition of
Property Constituting Evidence” with the purpose of
ensuring an effective control of the evidence from the
beginning of a criminal act, in the collection thereof, and
until it is presented at trial.

c. Training on General Order, Chapter 600, Section 612,
entitled “Authority of the Puerto Rico Police Department to
Conduct Searches and Seizures.”

 

 

 

 

 

 

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d. Training Program for Supervisors and High-Ranking
Officers on the policies, writing techniques, and review of
arrests, searches, and seizures reports.

e. Train personnel assigned to the Command Center and
Radio Control on how to use the automated system for the
digital recording and storage of the communications
between the immediate supervisor and the MPRPD
through the Command Center and Radio Control
communication channels.

 

Due Date Training courses will be implemented as indicated in Appendix C —
Training Implementation Process. (50% 12 months after approval of
the general orders, and the remaining 50% 12 months thereafter)

 

TCA Assessment a. The TCA has inspected signed training rosters at several Area
Police stations and Zones of Excellence districts, as well as at
the PRPD Academy. As of the end of April 2017, training on GO
600-615, Arrests and Summons, is at 84%.

b. Approval of General Order “Rules and Procedures for the
Receipt, Custody, Delivery, and Disposition of Property
Constituting Evidence’ is still pending, therefore, no training has
commenced as of May 2017.

c. Training on GO 600-612, Search and Seizure, is at 36% as of
the end of April 2017.

d. Training for Supervisors and High Ranking Officers on GO 600-
612, Search and Seizure, is at 36% in general, which includes
supervisors and high ranking officials.

e. The policy for this training is still pending, therefore no training
has been scheduled as of May 2017.

 

 

Recommendations none

 

 

 

 

 

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TCA Rating

 

Timeframe was partially met.

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance cannot be assessed during this reporting period given the
complexity of elements which are part of this training

 

 

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Activity V.V.1.2

 

 

 

 

 

 

V.V.1.2 The PRPD will begin training MPRPDs who belong to the following
work units:
1.2.1. Criminal Investigation Corps (SAIC);
1.2.2. Bureau of Drugs, Narcotics, Vice Control, and Illegal
Weapons (SAIC);
1.2.3. Bureau of Vehicle Theft Investigations (SAIC);
1.2.4. Arrests and Extraditions Division (SAIC);
1.2.5. Bureau of Internal Affairs (SARP);
1.2.6. Members of Joint Forces (SAIC);
1.2.7. Force Investigation Unit (FIU) (SARP);
1.2.8. Personnel assigned to Zones of Excellence (SAOC);
1.2.9. Division of Tactical Operations (DTO) and Division of
Special Weapons and Tactics (SWAT) (SAOC),; and
1.2.10. Bureau of Highway Patrols, Motorized Unit, Command
Centers, and Radio Control (SAOC).
Due Date
TCA Assessment The TCA has visited several PRPD sites (CIC’s, Narcotics Unit, Auto
Theft Units, Highway Patrol, Zones of Excellence, among others)
during the monihs of January through May 2017 and has learned that
PRPD is prioritizing these units for training on Search and Seizures
and Arrests and Summons.
Recommendations | none

 

 

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Compliance Timeframe: not due yet

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance cannot be assessed during this reporting period.

 

 

 

 

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Activity V.V.1.3

 

Activity 1.3

The PRPD will continue training MPRPDs who belong to Districts,
Precincts, and auxiliary superintendencies, taking the following into

consideration:
1.3.1
1.3.2
1.3.3
1.3.4
1.3.5
1.3.6

number of incidents per location;

number of incidents of domestic violence;

number of interventions with intoxicated persons:
number of arrests made;

number of tickets from police interventions;

number of complaints of incidents on the following
grounds: assault; use of unjustified violence; physical or
psychological coercion; and assault against an MPRPD;
distance from support units;

frequency of occurrence of demonstrations (i.e. mass
protests); and

places inside the district and precinct that have been
identified as having a high compiled criminal incidence,

 

Due Date

 

TCA Assessment

Training is concentrated at Specialized Units as of May 2017.

 

Recommendations

none

 

Compliance

 

 

Timeframe: not due yet

Whether the Commonwealth of Puerto Rico is in full, partial, or non-
compliance cannot be assessed during this reporting period

 

 

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VI. Feedback Committee Creation Objectives:

Activity V.VI.1.1

 

 

 

 

 

 

 

Activity 1.4 Create a protocol to receive comments regularly from the offices of
district attorneys, public defenders, and judges of the
Commonwealth of Puerto Rico regarding the quality of the
investigations, arrests, court testimony, and indications of improper
conduct by MPRPDs.

Due Date May, 2016

TCA Assessment The TCA received a Protocol draft from PRPD on May 31, 2016.
Protecoi has not yet been approved as of May 2017.

Recommendations none

Compliance Timeframe was met
The Commonwealth of Puerto Rico is in partial compliance.

 

 

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Vili. Self-Assessment Objectives:

Activity V.VII.1.1

 

VMI 1.4 PRPD, through the Office of the Reform, will use various data
collection strategies and conduct periodic, specific, and random
monitoring of the different activities, operations, services,
investigations, training courses it provides, starting with Zones of
Excellence and gradually continuing through all thirteen (13) police
areas and auxiliary superintendencies, such as:

a. Using the training plan and training announcement issued
by the SAEA for each of the courses to identify their start
date, the time police areas and the corresponding auxiliary
superintendencies have to complete the training, and the
work units that will be given training priority. The training
plans for each of the thirteen (13) police areas and auxiliary
superintendencies, as approved by the SAEA, will also be
considered to check the specific dates during which each
training course identified in this Action Plan will be offered.
The Office of Reform will verify that MPRPDs are
participating in scheduled training courses by using the
above-mentioned sources and the attendance records for
each course.

b. Conducting random visits to each of the thirteen (13) police
areas and the corresponding auxiliary superintendencies
using the training plan approved by the SAEA in order to
guarantee that PRPD personnel are being trained in
accordance with the syllabi, instructor handbooks,
presentation, and assessment methodology approved by
the TCA.

c. Visiting each of the thirteen (13) police areas and the
corresponding auxiliary superintendencies and conducti

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random reviews of files to verify that PPR-264, “Rights for
Suspects in Custody Form,” has been completed in each
incident where there has been an _ interrogation, in
accordance with the provisions of General Order, Chapter
600, Section 615, entitled “Authority of the Puerto Rico
Police Department to Conduct Arrests and Serve
Summons.”

d. Visiting each of the thirteen (13) police areas and the
corresponding auxiliary superintendencies and conducting
random reviews of files to verify that PPR-82, “Conditions
of Peopie Arrested and Placed in a Cell,” has been
completed in each incident where an arrest and placement
in a cell has been reported, in accordance with the
provisions of General Order, Chapter 600, Section 615,
entitled “Authority of the Puerto Rico Police Department to
Conduct Arrests and Serve Summons.”

e. Visiting each of the thirteen (13) police areas and
conducting random reviews of files to verify that PPR-126,
“Seized Property Inventory,” has been completed in each
incident where property was seized as a result of either an
arrest or a search, and that the seizure has been reported
in accordance with the provisions of General Order,
Chapter 600, Section 612, entitled “Authority of the Puerto
Rico Police Department to Conduct Searches and
Seizures,”

 

Due Date Not Applicable

 

 

TCA Assessment The TCA has been informed by the Reform Unit that it performs
periodic audits of Units and Districts to inspect for training, and proper
filling of PRPD forms, such as PPR-126, PPR-468, PPR-264, etc. TCA
was present in February 2017 when a Reform Unit Lt. had
conversation with Bayamon Auto Theft Unit Director about an audit the
Lt. had conducted the week before at his unit.

 

 

 

 

 

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Recommendations

See Section | of the Report.

 

 

TCA Rating

 

Timeframe is not applicable

The Cammonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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Compliance Tables for Equal Protection

Action Plan
Section VI: Equal Protection and Non-Discrimination

Requirements: 80 to 100

 

 

 

 

 

Activity VI.1.1.1

ViL 4 Collaborate in the review of Regulation 4216, “Puerto Rico Police
Department Personnel Regulation,” so that it establishes
mechanisms that guarantee equal protection of the flaw in the
recruitment process. This policy will form part of the Recruitment,
Selection, and Hiring Compliance Area Action Plan.

Due Date

TCA Assessment See Recruitment Action Plan

Recommendations nia

TCA Rating For rating, see Recruitment Action Plan

 

 

 

 

 

 

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Activity VIL1.2

 

 

 

 

 

 

 

Vi. 4.2 Collaborate in the review of General Order 2008-3 entitled “Rules
and Procedures for the Evaluation of Members of the Police
Department and Classified Personnel.” The evaluation process will
establish criteria to evaluate MPRPDs in relation to whether they
provide unbiased services. This policy will form part of the
Supervision and Management Compliance Area Action Plan.

Due Date

TCA Assessment See Supervision Action Plan

Recommendations

TCA Rating For rating, see Supervision Action Plan

 

 

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TCA Sixth Semi-Annual Report: Appendix 4 2047

 

Activity V!1.1.3

 

 

 

 

 

 

 

VI.I1.3 Collaborate in the review of the “Regulation to Administer
Promotional Exams in the Puerto Rico Police Department’ so that
these requirements are based on the knowledge, skills, and ability
needed to perform administrative and supervisory tasks
successfully in the principal substantive areas corresponding to the
rank to which [a candidate] aspires to be promoted. This policy will
form part of the Professionalization Compliance Area Action Plan.

Due Date

TCA Assessment See Professionalization

Recommendations

TCA Rating For rating, see Professionalization Action Plan

 

 

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TCA Sixth Semi-Annual Repert: Appendix 4 2027
Activity VI.1.1.4
VII 1.4 Review Regulation 6508 entitled “Regulation to Establish the Public

Policy and Procedure to File Sexual Harassment Complaints in the
Puerto Rico Police Department.” This regulation will be amended
and known as “Puerto Rico Police Department Internal Regulation
to Prevent Harassment, Discrimination, and Retaliation.”

 

Due Date

March 31, 2015

 

TCA Assessment

Focus is now on training and implementation

The TCA is aware that the USDOJ finds the assessment and rating
of full compliance objectionable. PRPD has not appoved a
harassment regulation that complies with Title VII, the Settlement
Agreement, or the TCA’s resolution of the USDOJ objections.

 

Recommendations

The TCA will continue to conduct anual reviews of the policy

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in partial compliance with this
detailed step of the Action Plan

 

 

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TCA Sixth Semi-Annual Report: Appendix 4 ALF
Activity VI.1.7.5
VII15 Develop the PRPD Regulation to Establish Police Practices without

Discrimination, Harassment, Improper Sexual Conduct, and
Retaliation. It will cover PRPD processes for interacting with
citizens

 

Due Date

March 31, 2015

 

TCA Assessment

Focus is now on training and implementation

 

Recommendations

The TCA will continue to conduct anual reviews of the policy

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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Activity V1.1.1.6

 

VIL 1.6

Develop General Order for the Investigation of Domestic Violence
Incidents, which will repeal General Order 2006-4 entitled “Policy
and Procedure for the Criminal Investigation of Domestic Violence
Incidents,” to establish clear and detailed guidelines from a victim-
centered approach.

 

Due Date

June 2015

 

TCA Assessment

Focus is now on training and implementation

 

Recommendations

The TCA will continue to conduct anual reviews of the policy

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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TCA Sixth Semi-Annual Report: Appendix 4 Bou?
Activity V1.1.1.7
VI11.7 Review General Order 2006-5 entitled “Reorganization of the

Puerto Rico Police Department Domestic Viclence Division.”

 

Due Date

June 2015

 

TCA Assessment

Focus is now on training and implementation

 

Recommendations

The TCA will continue fo conduct anual reviews of the policy

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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TCA Sixth Semi-Annual Report: Appendix 4 ROLF
Activity VI.I.1.8
VI1418 Develop an Administrative Order for the Investigation of Domestic

Violence Incidents Involving PRPD Employees, which will describe
the processes to be followed when a PRPD employee is involved in
a domestic violence incident.

 

Due Date

June 2015

 

TCA Assessment

Focus is now on training and implementation

 

Recommendations

The TCA will continue to conduct anual reviews of the policy

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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TCA Sixth Semi-Annual Report: Appendix 4 FOV?
Activity VI.1.1.9
VI117.9 Review General Order 2007-1 entitled “Duties and Responsibilities

of Sexual Crimes and Child Abuse Divisions” to create a General
Order for the Investigation of Sexual Assault Incidents establishing
clear and detailed guidelines for investigation processes from a
victim-centered approach. The processes to operate the sexual
crimes hotline island-wide, 24 hours a day, 7 days a week will
also be established.

 

Due Date

September 2015

 

TCA Assessment

Focus is now on training and implementation

 

Recommendations

The TCA will continue to conduct anual reviews of the policy

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Pian

 

 

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Activity Vi.1.1.10

 

 

 

 

 

 

 

ViLL7.10 Develop an Administrative Order to Investigate Sexual Assault
incidents for cases in which an incident of sexual assault involving
PRPD employees occurs.

Due Date September 2015

TCA Assessment Focus is now on training and implementation

Recommendations The TCA will continue to conduct anual reviews of the policy

TCA Rating Timeframe was met
The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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Activity VIL1.1.11

 

 

 

 

 

 

 

Vii1.11 Develop General Order for Interaction with Transgender and
Transsexual People to provide guidelines to address matters
related to this group, including transportation, booking, custody, and
medical treatment.

Due Date Cctober 2015

TCA Assessment Focus is now on training and implementation

Recommendations The TCA will continue to conduct anual reviews of the policy

TCA Rating Timeframe was met
The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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TCA Sixth Semi-Annual Report: Appendix 4 2029

Activity VI.11.42

 

 

 

 

 

 

 

ViI1.12 Develop General Order for Interaction with Foreigners
Due Date December 2015
TCA Assessment Focus is now on training and implementation
Recommendations The TCA wiil continue to conduct anual reviews of the policy
TCA Rating Timeframe was met
The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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TCA Sixth Semi-Annual Report: Appendix 4 ROA?

 

Activity VI.1.1.13

 

 

 

 

 

 

 

VLI1.43 Review General Order 2000-3 entitled “Controls on the Use, Filing,
and Final Disposition of Incident Reports (NIBRS) at the Puerto
Rico Police Department.”

Due Date August 2015 (Activity No. 13)

TCA Assessment Focus is now on training and implementation

Recommendations The TCA will continue to conduct anual reviews of the policy

TCA Rating Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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Activity VI.1L1.14

 

 

 

 

 

 

 

VII 1.14 Develop General Order for Hate Crime Data Collection and
Management.

Due Date April 2016 (Activity No. 14)

TCA Assessment Focus is now on training and implementation

Recommendations The TCA will continue to conduct anual reviews of the policy

TCA Rating Timeframe was met
The Commonweaith of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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TCA Sixth Semi-Annual Report: Appendix 4 203}

 

Activity VLL1.15

 

 

 

 

 

 

 

ViL1.15 Develop Hate Crime Management and Investigation Manual. The
PRPD will use the FB! Hate Crime Data Collection [Guidelines and
Training] Manual as a reference.

Due Date April 2076 (Activity No. 15)

TCA Assessment Focus is now on training and implementation

Recommendations The TCA will continue to conduct anual reviews of the policy

TCA Rating Timeframe was met

The Commonwealth of Puerto Rice is in full compliance with this
detailed step of the Action Plan

 

 

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Activity VI.1.1.16

 

 

 

 

 

 

 

VLI 1.16 Develop an Evaluation Protocol on Compliance with Best Practices
for Operational Programs to review documents, forms, policies, and
procedures related to arrests, traffic stops, searches, property
seizures, and administrative complaints.

Due Date June 2016 {Activity No. 16)

TCA Assessment Focus is now on training and implementation

Recommendations The TCA will continue to conduct anual reviews of the policy

TCA Rating Timeframe was met
The Commonwealth of Puerto Rico is in full compliance with this
detailed step of fhe Action Plan

 

 

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TCA Sixth Semi-Annual Report: Appendix 4 2047

 

Activity VEI.1.97

 

 

 

VIL1.17 Review Special Order 2006-2 entitled “Rules and Procedures for
the Criminal Investigation of Institutional Abuse and/or Negligence
Complaints Related to Minors in Juvenile Correctional Institutions.”

Due Date August 2016

TCA Assessment Focus is now on training and implementation

 

Recommendations

The TCA will continue to conduct anual reviews of the policy

 

TCA Rating

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

 

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Activity VI.1.1.18

 

 

 

VI11,18 Review “Interagency Agreement for the Investigation of Allegations
of Abuse in Juvenile Institutions.”

Due Date August 2016

TCA Assessment PRPD and the other agencies have not finalized and implemented

the MOU

 

Recommendations

The TCA will continue to conduct anual reviews of the policy

 

TCA Rating

 

 

Timeframe was not met

The Commonwealth of Puerto Rico is in non-compliance with this
detailed step of the Action Plan

 

 

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TCA Sixth Semi-Annual Report: Appendix 4 POL?

 

Il. Training Development Objectives:

Activity VIL1I.1.1

 

 

 

 

 

 

 

VIAL 1.1 1.1 The Auxiliary Superintendency for Education and Training
will create courses to train ail MPRPDs through certified instructors.
The training courses are as follows:
1.1.1 Training on the Puerto Rico Police Department lnternal
Regulation to Prevent Harassment, Discrimination, and Retaliation
(Table 8), and
1.1.2 PRPD Regulation to Establish Police Practices Free of
Discrimination, Harassment, Improper Sexual Conduct, and
Retaliation

Bue Date Designing training courses corresponding to policies will begin once
policy has been approved and signed according to process
established in Appendix B — Training Design Process.

TCA Assessment The TCA reviewed and approved the training materials

Recommendations The TCA will continue to conduct anual reviews of the training
materials

TCA Rating Timeframe was met
The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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TCA Sixth Semi-Annual Report: Appendix 4 2017
Activity VI.IL.1.3
VEIL 1.3 1.1.3. Training on Investigation of Domestic Violence Incidents.

 

 

 

 

 

 

Due Date Designing training courses corresponding to policies will begin once
policy has been approved and signed according to process
established in Appendix B — Training Design Process.

TCA Assessment The TCA reviewed and approved the training materials

Recommendations The TCA will continue to conduct anual reviews of the training
materials

TCA Rating Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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Activity VI.1L.7.4

VEIL 1.4 Training on Investigation of Sexual Assault Incidents.

Due Date Designing training courses corresponding to policies will begin once
policy has been approved and signed according to process
established in Appendix B — Training Design Process.

TCA Assessment The TCA reviewed and approved the training materials

Recommendations The TCA will continue to conduct anual reviews of the training
materials

TCA Rating Timeframe was met

 

 

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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Activity VI.11.1.5

 

 

 

 

 

 

 

MVLIL 1.5 1.1.5 Training on Identification of and Intervention with People
from the Transgender and Transsexual Community.

Due Date Designing training courses corresponding to policies will begin once
policy has been approved and signed according to process
established in Appendix B -— Training Design Process.

TCA Assessment The TCA reviewed and approved the training materials

Recommendations The TCA will continue to conduct anual reviews of the training
materials

TCA Rating Timeframe was met
The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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Activity VI.i1.1.6

 

 

 

VIAL 1.6 Training on Intervention with Foreigners

Due Date Designing training courses corresponding to poitcies will begin once
policy has been approved and signed according to process
established in Appendix B - Training Design Process.

TCA Assessment The TCA reviewed and approved the training materials

 

Recommendations

The TGA will continue to conduct anual reviews of the training
materials

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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Activity Vil.1.7

 

 

 

VIAL. 1.7 1.1.8 Training on Techniques to Collect Demographic Information.

Due Date Designing training courses corresponding to policies will begin once
policy has been approved and signed according to process
established in Appendix B — Training Design Process.

TCA Assessment See IT Action Plan

 

Recommendations

 

TCA Rating

 

 

For rating, see IT Action Plan

 

 

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Activity VI.11.1.78

 

 

 

 

 

 

 

VIAL. 1.8 Training on Techniques to Collect Demographic Information

Due Date Designing training courses corresponding to policies will begin once
policy has heen approved and signed according to process
established in Appendix B — Training Design Process.

TCA Assessment

Recommendations

TCA Rating Timeframe: not due yet
Whether the Commonwealth is in compliance cannot be assessed
during this reporting period

 

 

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TCA Sixth Semi-Annual Report: Appendix 4 ROL?
Activity Vi.11.1.9
VILLI. 1.9 1.1.9 Training on Hate Crime Data Collection, Management, and

Investigation.

 

 

Due Date Designing training courses corresponding to policies will begin once
policy has been approved and signed according to process
established in Appendix B - Training Design Process.

TCA Assessment

 

Recommendations

 

Compliance

 

Timeframe: not due yet

Whether the Commonwealth is in compliance cannot be assessed
during this reporting period

 

 

 

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Activity VI.11.1.10

 

VLE. 1.10 Training on investigation of Incidents at Juvenile institutions
Related to Complaints of institutional Abuse and/or Negligence
against Minors.

 

Due Date Designing training courses corresponding to policies will begin once
policy has been approved and signed in accordance with process
established in Appendix B — Training Design Process.

 

TCA Assessment

 

Recommendations

 

Compliance Timeframe: not due yet

Whether the Commonwealth is in compliance cannot be assessed
during this reporting period

 

 

 

 

 

 

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Activity Vi.ll.1.11

 

 

 

 

 

 

 

ViLIE 1.11 MultiTopic training

Due Date § months after approval and signing of the “Regulation to Prohibit
Discrimination, Harassment, and Retaliatio” by superintendent
(regulation was approved on April 13, 2016)

TCA Assessment Focus is now on implementation

Recommendations The TCA will continue to conduct anual reviews of the training
materials

Compliance Timeframe was met

Tthe Commonwealth is in full compliance with this detailed step of
the action plan

 

 

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Activity VI.Ii.1.1

 

VIL 1.1

 

 

To provide police services in an equitable, respectful, and unbiased
manner; foster greater professionalization; promote more trust in
the community; and prevent more crime, PRPD will implement
training , new policies and procedures, equipment, technologies,
operational and administrative strategies, among others.

The training to be implemented will cover the following topics:

a. training on Regulation to Prohibit Discrimination,
Harassment, and Retaliation (Table 21)

b. training on investigation of domestic violence incidents
(Table 21)

c. training on investigation of sexual assault incidents (Table
21)

d. training on gender identification and expression in the
transgender and transsexual community (Table 20)

e. training on intervention with foreigners (Table 21)

f. use of automated system to prepare electronic incident

reports (NIBRS), as established in the Information Systems and
Technology Compliance Area Action Plan (Table 21)

g. more effective techniques to collect demographic
information accurately (Table 27)
h. training on hate crime data collection, management, and

investigation (Table 21}

i. training on investigation of incidents at juvenile institutions
regarding complaints of institutional abuse and/or negligence
against minors (Table 20)

}. miuiltitopic training aimed at MPRPDs (Table 21)
k. Multitopic training aimed at civilian employees of the PRPD
(Table 21)

 

 

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Due Date

Within the tweive (12) months following the final approvai of the
training material and the incorporation of the changes
recommended, the SAEA will simultaneously train fifty percent
(50%) of PRPD personnel through its certified instructors. The
remaining fifty percent (50%) of the MPRPDs will be trained within
the following twelve (12) months, once the training of the first group
has been completed. Training will begin on

 

TCA Assessment

Focus is now on implementation

 

Recommendations

 

 

Compliance

 

Whether the Commonwealth is in compliance cannot be assessed
during this reporting period

 

 

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Activity VI.II.1.4

 

VILL 1.4 Sexual Crimes Hotline to answer calls island-wide 24 hours a day, 7
days a week. The Hottiine will be implemented in accordance with
the provisions and guidelines adopted in the Sexual Crimes
General Order .

 

 

 

 

Due Date After approval of policy

TCA Assessment Focus is now on implementation
Recommendations Next steps is to audit hotline information
Compliance

Timeframe was met

The Commonwealth is in full compliance cannot be assessed
during this reporting period.

 

 

 

 

 

 

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Activity VI.111.1.5

 

VLIW. 1.4

The SASG, through the Medical Services Office and the Division of
Psychology of the PRPD, will implement the corresponding
processes to evaluate the competence of MPRPDs who have been
involved in sexual assauit or domestic violence incidents and
determine if their physical and/or mental state warrants disarming or
rearming them, according to the correspending policies of the
PRPD.

 

Due Date

After approval of policy

 

TCA Assessment

Focus is now on implementation

 

Recommendations

Next steps is to audit PRPD documentation

 

Compliance

 

 

Whether the Commonwealth is in compliance cannot be assessed
during this reporting period

 

 

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TCA Sixth Semi-Annual Report: Appendix 4 foi;

 

Activity VI.I1.1.6

 

VIL. 1.6

The SASG will establish guidelines and pericdically evaluate the
effectiveness of the programs, operational plans, initiatives, and
activities, as well as the efficiency of its processes. The duties of
the corresponding work unit at the SASG will include studying,
analyzing, and evaluating work processes in PRPD units, proposing
and developing measurement indicators for the service areas of the
PRPD, and measuring and documenting the same. The
corresponding work unit at the SASG must make recommendations
to the superintendent about actions that must be taken to correct
the identified deficiencies, taking into consideration generally
accepted police practices .

 

Due Date

After approval of policy

 

TCA Assessment

Focus is now on implementation

 

Recommendations

Next steps is to audit PRPD documentation. To date, the TCA has
not seen any protocolo r evaluation schedule

 

Compliance

 

 

Timeframe: not due yet

Whether the Commonwealth is in compliance cannot be assessed
during this reporting period

 

 

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Activity VE.IV.1.1

 

VEML 1.6

Develop crime rate data collection system using the criminal
incident and resource allocation reporting system as a starting point
to prepare electronic incident reports. This system is already being
used in the Utuado Zone of Excellence as part of a pilot plan to
evaluate its operation and to improve its processes. It will eventually
be implemented in the remaining Zones of Excellence and other
units as established in the Information Systems and Technology
Compliance Area Action Plan. (Table 25)

 

Due Date

12 months (once NIBRS and any other policies affecting System
are ready) (policy was approved on January 1, 2016)

 

TCA Assessment

See IT Action Plan

 

Recommendations

 

Compliance

 

 

For rating, see IT Action Plan

 

 

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Compliance Tables for Recruitment

Action Plan
Section VIl. Recruitment, Seiection, and Hiring
Requirements: 101 to 108

I. Policy and Procedure Development Objectives:

Activities:

Activity VI.1.1.7

 

VILA.1.4 Collaborate in the development of the General Order
establishing the profile of PRPD officers as a guideline for the
selection of the best suited and most qualified candidates. This
profile consists of a description of the abilities, attitudes, and
aptitudes that a candidate will need to hold the rank of officer
efficiently and is made up of a set of standards describing the
following:
* basic knowledge candidates must have to be an MPRPD;
¢ abilities candidates must possess;
« attitudes candidates must adopt;
* aptitudes candidates will apply to demonstrate their
competence;
e outcomes officers will obtain in the performance of their
duties;
« contexts in which said performance takes place.

 

 

 

 

 

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This set of standards is based on the ideal performance of an
PRPD officer. This General Order is included in the
Professionalization Compliance Area Action Pian.

 

 

 

 

 

Due Date September 2016

TCA Assessment | TCA has not reviewed a General Order establishing the profile of
PRPD officers. Pending review.

Recommendations | The PRPD must make this a priority

TCA Rating Timeframe was not met

 

The Commonwealth of Puerto Rico is in non-compliance with this
detailed step of the Action Plan

 

 

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Activity VII.1.1.2
VILI.1.2 Collaborate in the review of Public Law No. 53-1996, as amended,

Puerto Rico Police Department Act, to adapt it to the requirements
of the Agreement for the Sustainable Reform of the Puerto Rico
Police Department and to require an associate degree or its
equivaient as part of the requirements for MPRPD candidates.
This activity was completed through Public Law No. 112 of July
30, 2014, which amended the PRPD Act. This policy will form part
of the Policy and Procedure Compliance Area Action Plan.

 

Due Date

November 2017

 

TCA Assessment

Due to new DPS law, Public Law No. 53 has been vacated.
Pending review.

 

 

 

 

Recommendations | TCA has not reviewed a General Order establishing the profile of
PRPD officers. Pending review.
The TCA will continue annual reviews in accordance with
Agreement requirements.

TCA Rating Timeframe: not due yet

Whether the Commonwealth of Puerto Rico is in compliance with
this detailed step of the Action Plan cannot be assessed during
this reporting period

 

 

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Activity VIL1.1.3
VILL1.3 Collaborate in the development of a draft bill to amend Public

Law No. 53 of June 10, 1996, as amended, better known as
the “Puerto Rico Police Department Act” to establish the
probationary period evaluation requirements and the fact that
hiring a person for the rank of cadet is provisional until the
candidate completes the training, which will include 800 hours of
field training. Once the above-mentioned requirements are met,
the person will be promoted to the rank of officer. This activity is
included in the Policy and Procedure Compliance Area Action
Pian.

 

 

 

 

 

 

Due Date March 2017

TCA Assessment | Due to new DPS law, Public Law No. 53 has been vacated.
Pending review.

Recommendations | TCA assessment has not reviewed a General Order establishing
the profile of PRPD officers. Pending review.
The TCA will continue annual reviews in accordance with
Agreement requirements,

TCA Rating Timeframe was not met

The Commonwealth of Puerto Rico is in non-compliance with this
detailed step of the Action Plan

 

 

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TCA Sixth Semi-Annual Report: Appendix 4 eon?
Activity VII.1.1.4
VILI.1.4 Collaborate in the review of Regulations Number 4216, “PR Police

Department Personnel Regulations,” to establish eligibility criteria
in the MPRPD candidate investigation process that will include a
psychological evaluation, credit history, criminal record,
employment history, use and abuse of controlled substances
(including anabolic steroids), ability to work with diverse
communities, and impartiality. To such effect, any candidate who
meets the selection requirements and has passed each phase of
the recruitment process satisfactorily will be included in a roster of
eligible candidates for the rank of cadet. The roster of eligible
candidates will be in effect for six (6) months. This policy will form
part of the Policies and Procedures Compliance Area Action
Plan.

 

Due Date

November 20717

 

TCA Assessment

Time period for eligible candidate list is still under discussion by
the PRPD and DOJ. Pending review.

 

Recommendations

TCA assessment has not reviewed a General Order establishing
the profile of PRPD officers. Pending review.

 

TCA Rating

 

 

Timeframe: not due yet

Whether the Commonwealth of Puerto Rico is in compliance with
this detailed step of the Action Plan cannot be assessed during
this reporting period

 

 

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TCA Sixth Semi-Annual Report: Appendix 4 2O47
Activity VILI.1.5
VILI.1.5 Collaborate in the review of Regulations No. 6403, “Puerto Rico

Police Department Officials and Employees Controlled
Substance Detection Program Regulations,” to include the
process to have PRPD candidates undergo controlled substance
detection tests. This activity is part of the Administrative
Complaints Action Plan.

 

Due Date

TBD

 

TCA Assessment

Pending review.

 

Recommendations

TCA assessment has not reviewed a General Order establishing
the profile of PRPD officers. Pending review.

 

TCA Rating

 

 

Timeframe: not due yet

Whether the Commonwealth of Puerto Rico is in compliance with
this detailed step of the Action Plan cannot be assessed during
this reporting period

 

 

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Activity VII.1.4.6
VILI.1.6 Develop a General Order for the MPRPD Recruitment Program

establishing clear guidelines and objectives to recruit MPRPD
candidates. This General Order will establish the responsibilities
of the PRPD Division of Recruitment director, whose duties are
equivalent to those of the recruitment officer as established in the
Agreement. The director will be responsible for implementing the
MPRPD Recruitment Program. (Table 1}

 

 

 

 

 

 

Due Date September 2016

TCA Assessment | Decision to have a recruit class in 2017 has not yet been
determined by the PRPD. Impact of General Order remains to be
seen.

Recommendations | See Section Ill of the Report

TCA Rating Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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TCA Sixth Semi-Annual Report: Appendix 4 ROL
Activity VII.1.7.6
VILL1.7 The recruitment policies for undercover officers will be

reviewed to guarantee compliance with the requirements
established in the Agreement for the Sustainable Reform of the
PRPD. This procedure will be established by the superintendent
because of the nature of their duties, the security measures that
will be taken, and the danger of the investigations conducted by
said personnel. The review and implementation of this policy will,
therefore, be strictly confidential. (Table 2)

 

Due Date

May 2017

 

TCA Assessment

See Activity VII.1.1.6

 

Recommendations

See Section Ill of the Report

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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TF Training Development Objectives:

Activity VII.11.1.6

 

VILEL1.1

The SAEA wiil develop a multi-topic training course aimed at
the personnel who will work on the various phases of the
recruitment process, which will address the following topics:

1.1.1 General Order for MPRPD Recruitment (includes candidate
eligibility requirements and rules and procedures to follow in
each phase of the process);

1.2.1 phases of recruitment process;

1.3.1 guidance on effective recruitment interview techniques:

1.4.1 applicable equal protection and non-discrimination statutes,
as well as generally accepted police practices;

1.5.1 candidate profile:

1.6.1 informational guide on recruitment process; and

1.7.1 techniques to interview members of community
organizations. (Table 3)

 

Due Date

Designing training courses corresponding to policies will begin
once the policy has been approved and signed in accordance with
the process established in Appendix B — Training Design
Process.

 

TCA Assessment

 

 

Given that the training course has not yet been developed, the
TCA has not reviewed this multi-topic training course aimed at
personnel who will work on the various phases of the recruitment
process.

 

 

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Recommendations

The TCA will continue training reviews in accordance with
Agreement requirements.

 

 

TCA Rating

 

Timeframe: not due yet

Whether the Commonwealth of Puerto Rico is in compliance with
this detailed step of the Action Plan cannot be assessed during
this reporting period

 

 

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Activity VIILI.4.2

 

VILIL4.2

The SAEA will create a field investigations training course
together with personnel from the Office of Safety and Protection
assigned to SAIC in order to train investigators on criminal record
investigation techniques and PRPD candidate recruitment
procedures to continue professionalizing the personnel and to
strengthen the community's trust and help provide police services
in an equitable, respectful, and unbiased manner in accordance
with generally accepted police practices. (Table 4)

 

Due Date

Designing training courses corresponding to policies will begin
once the policy has been approved and signed in accordance with
the process established in Appendix B — Training Design Process

 

TCA Assessment

Given that the training course has not yet been developed, the
TCA has not reviewed this

 

Recommendations

Continue review in accordance with Agreement requirements

 

TCA Rating

 

 

Timeframe: not due yet

Whether the Commonwealth of Puerto Rico is in compliance with
this detailed step of the Action Plan cannot be assessed during
this reporting period

 

 

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Ill. implementation Objectives:

Activity VII.IL1.1

 

VIG. 1.4

The recruitment officer of the PRPD superintendent will be the
Division of Recruitment director, who will be responsible for
implementing the General Order for the PRPD Recruitment
Program together with a task force that includes officers with
various work experiences and for establishing alliances with
historically unrepresented groups in the PRPD. (Table 5)

 

Due Date

August 2017

 

TCA Assessment

TCA Assessment will be due during next six-month assessment.

 

Recommendations

Continue review in accordance with Agreement requirements.

 

TCA Rating

 

 

Timeframe: not due yet

Whether the Commonwealth of Puerto Rico is in compliance with
this detailed step of the Action Plan cannot be assessed during
this reporting period

 

 

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Activity VII.II.1.2

 

VILL 4.2

With the purpose of defining and standardizing the various phases
that make up the PRPD recruitment process and guarantee the
uniformity of the same for all candidates for the position of cadet,
the recruitment officer and his or her task force will develop a
flowchart of the various phases of the recruitment process, from
the announcement to the selection, which will allow for the
specification and standardization of the process in equal
conditions for all candidates. The limitations and weaknesses of
the process will be discovered by analyzing it to make it more
streamlined and efficient to successfully attract and promote the
hiring of qualified candidates, pursuant to the applicable non-
discrimination statutes and protecting candidates’ rights in
accordance with generally accepted police practices. This
flowchart will be included in the General Order for the MPRPD
Recruitment Program. (Table 6)

 

Due Date

September 2016

 

TCA Assessment

TCA assessment has not reviewed flowchart for recruitment
program because the PRPD has not submitted it. Pending review.

 

Recommendations

Continue review in accordance with Agreement requirements.

 

TCA Rating

 

 

Timeframe was not met

The Commonwealth of Puerto Rico is in non-compliance with this
detailed step of the Action Plan during this reporting period

 

 

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Activity VIUI.IE1.3

 

 

 

 

 

 

 

VILLI. 1.3 Develop an informational and procedures brochure or guide for
candidates for the position of cadet at the PRPD that will provide
guidance and help them identify various aspects of the recruitment
process so that they can successfully complete it.

Due Date September 2016

TCA Assessment | Decision to have a recruit class in 2017 has not yet been
determined by the PRPD. Pending review. PRPD did not develop
a brochure by September 2016.

Recommendations | Continue review in accordance with Agreement requirements.

TCA Rating Timeframe was not met

Whether the Commonwealth of Puerto Rico is in compliance with
this detailed step of the Action Plan cannot be assessed during
this reporting period

 

 

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Activity VII.I.1.4

 

VILA. 1.4

Develop and implement an attractive advertising campaign to
promote recruiting PRPD candidates targeted at various sectors
of the community in educational institutions (including high
schools), job fairs, shopping centers, press, radio, military bases,
social networks, public service programs offered by the television
media, and the PRPD webpage. To such effect, the PRPD will
carry out the following activities:

e Publish the minimum requirements established to qualify for
the position of cadet on the PRPD webpage and the
government portal. The announcement and requirements for
candidates will also be published in local, regional, and
national newspapers.

e Develop informational brochures about the recruitment
process including the minimum requirements and steps to
follow to complete the process successfully, which will be
distributed at the various job fairs that will be organized
throughout the island.

¢ Design a recruitment poster with the requirements that must
be met to become a candidate for the position of cadet and
general information about the recruitment process, which will
be distributed at various universities, technical coileges, and
educational, shopping, and community centers. (Table 8)

 

Due Date

Once the Superintendent has made the decision and vacant
positions and budgets have been identified.

 

TCA Assessment

 

 

Decision to have a recruit class in 2017 has not yet been
determined by the PRPD. Pending review.

 

 

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Recommendations

Continue review in accordance with Agreement requirements.

 

 

TCA Rating

 

Timeframe: not due yet

Whether the Commonwealth of Puerto Rico is in compliance with
this detailed step of the Action Plan cannot be assessed during
this reporting period

 

 

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Activity VIIL-IL1.5

 

 

VIAL 1.5 The PRPD Office of Safety and Protection will establish an
Analysis, Control, and Quality Committee to guarantee the
integrity and reliability of job candidate investigations. (Table 9)
Due Date When recruitment process begins.

 

TCA Assessment

Decision to have a recruit class in 2017 has not yet been
determined by the PRPD. TCA assessment has not reviewed
information on Analysis, Control, and Quality Committee. Pending
review.

 

Recommendations

Continue review in accordance with Agreement requirements.

 

TCA Rating

 

 

Timeframe: not due yet

Whether the Commonwealth of Puerto Rico is in compliance with
this detailed step of the Action Plan cannot be assessed during
this reporting period

 

 

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Activity VIIL.II.1.6

 

VAL AH. 1.6

The PRPD and the SAEA will establish performance evaluation
requirements that comply with the objectives required by the
PRPD. The evaluation of cadets will establish parameters to
evaluate their performance, aptitude, and abilities during their
training period at the PRPD Academy, which will include 800
hours of field training. Once they have passed the training, they
will be promoted to the rank of officer. (Table 10)

 

Due Date

After recruitment and after training requirements are met cadets
will be officers.

 

TCA Assessment

Performance evaluation requirements have been established by
the PRPD and SAEA.

 

Recommendations

Continue review in accordance with Agreement requirements.

 

TCA Rating

 

 

Timeframe: not due yet

Whether the Commonwealth of Puerto Rico is in compliance with
this detailed step of the Action Plan cannot be assessed during
this reporting period

 

 

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Activity VIL.1}.2.1

 

VAL AL2.4

 

 

Within the twelve (12) months following the final approval of the
training material of the Recruitment Manual and the Multi-topic
Workshop on the recruitment process and the incorporation of the
changes recommended, the SAEA will have its certified
instructors simultanecusly train fifty percent (50%) of PRPD
employees. The remaining fifty percent (50%) of the personnel will
be trained within the following twelve (12) months, once the
training of the first group has been completed. Training will begin
on the date indicated in the Announcement issued by the SAEA
and the Training Plan provided by each Police Area and Office of
the Assistant Superintendent upon SAEA approval. The following
topics will be addressed:

2.1.1 General Order for MPRPD Recruitment (includes candidate
eligibility requirements and rules and procedures to follow in
each phase of the process);

2.1.2 phases of recruitment process;
2.1.3 guidance on effective recruitment interview techniques;

2.1.4 applicable equal protection and non-discrimination statutes,
as well as generally accepted police practices;

2.1.5 candidate profile;
2.1.6 informational guide on recruitment process; and

2.1.7 techniques to interview members of community
organizations. (Table 11)

 

 

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Due Date Training will be implemented as indicated in Appendix C —
Training Implementation Process.

TCA Assessment | Decision to have a recruit class in 2017 has not yet been
determined by the PRPD. Pending review.

Recommendations | Continue review in accordance with Agreement requirements.

TCA Rating Timeframe: not due yet

 

Whether the Commonwealth of Puerto Rico is in compliance with
this detailed step of the Action Plan cannot be assessed during
this reporting period

 

 

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IV Self-Assessment Activities:

Activity VILIV.1.1

 

 

VILIV.1.4 The PRPD, through the Office of Reform, will conduct periodic,
specific, and random monitoring of the different activities,
services, investigations, and training courses.

Due Date May 2017

 

TCA Assessment

The PRPD Report adequately documents PRPD’s  self-
assessment process

 

Recommendations

Continue review in accordance with Agreement requirements.

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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Activity VIILINV.1.2

 

 

VILIV.1.2 On an annual basis, [the PRPD] will compile a random sample of
the work MPRPDs are performing to verify the positions availabie.
Due Date May 2017

 

TCA Assessment

The PRPD Report adequately documents PRPD’s  self-
assessment process

 

Recommendations

Continue review in accordance with Agreement requirements.

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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Activity VIIIV.1.3

 

VILIV.4.3

The Implementation and Compliance Section of the Office of
Reform, together with the Analysis, Control, and Quality
Committee of the Office of Safety and Protection, will develop a
Candidate investigation Monitoring Program to ensure
compliance with the Job Candidate Investigation Guide and
guarantee high-quality, efficient investigations.

 

Due Date

May 2017

 

TCA Assessment

The PRPD Report adequately documents PRPD’s  self-
assessment process

 

Recommendations

Continue review in accordance with Agreement requirements.

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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Activity VILIV.1.4

 

 

 

 

 

 

 

VILIV.1.4 The Implementation and Compliance Section of the Office of
Reform, together with the Analysis, Control, and Quality
Committee of the Office of Safety and Protection, will design the
evaluation instrument to conduct efficient, high-quality monitoring
of the components of the recruitment process.

Due Date May 2017

TCA Assessment |The PRPD Report adequately documents PRPD's  self-
assessment process

Recommendations | Continue review in accordance with Agreement requirements.

TCA Rating Timeframe was met
The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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Compliance Tables for Policies

Action Plan
Section VII. Policies and Procedures

Requirements: 109 to 116

Compliance Area Summary:

Assessment: no applicable

I. Policy and Procedure Development Objectives:
Activities:

Activity VIil.1.1.1

 

VAULL1.1 Develop a draft bill to amend Public Law Number 53 of June 10, 1996,
as amended, known as the “Puerto Rico Police Department Act,” to
adapt it to the requirements established in the Agreement for the
Sustainable Reform of the PRPD.

 

 

 

 

 

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Due Date March 2017

 

TCA Assessment With the implementation of the new DPS law (Act 20-2017), Law
Number 53 (Act 53-1996) has been vacated

 

Recommendations | See Report Section Il!

 

TCA Rating Timeframe was not met

The Commonwealth of Puerto Rico is in non-compliance with this
detailed step of the Action Plan. To date, PRPD has not addreesed
the issue of how will codify relevant provisions of the Agreement in the
absence of Law 53.

 

 

 

 

 

 

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Activity VIII.1.1.2

 

 

 

VIUILI.1.2 Review General Order, Chapter 100, Section 102, entitled
“Reorganization of the Puerto Rico Police Department Organizational
Structure,” with the purpose of adjust said General Order to the
changes resulting from the creation and reorganization of other work
units and the Agreement.

Due Date September 2017

TCA Assessment | TCA assessment not yet due

 

Recommendations

Continue review in accordance with Agreement requirements

 

TCA Rating

 

 

Timeframe: not due yet

Whether the Commonwealth of Puerto Rico is in compliance with this
detailed step of the Action Plan cannot be assessed during this
reporting period

 

 

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Activity VUIL1.1.3

 

Review General Order, Chapter 100, Section 106, entitled “Creation of

 

VIILI.1.3 the Office of the Assistant Superintendent for Field Operations,” to
incorporate the changes in the structure and duties of the Office of the
Assistance Superintendent for Field Operations and the Zones of
Excellence.

Due Date November 2016

 

TCA Assessment

PRPD reviewed the above policy with TCA input during this reporting
period

 

Recommendations

Continue review in accordance with Agreement requiremenis

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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Activity VIII.1.1.4

 

Review General Order, Chapter 100, Section 111, entitled “Creation

 

VIILL.1.4 and Functional Organization of the Office of Reform,” to adjust it to the
changes that have been made after its creation.
Due Date October 2016

 

TCA Assessment

Signed by Superintendent April/2015
Revised Oct/2016

 

Recommendations

Continue review in accordance with Agreement requirements

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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Activity VIII.1.1.5

 

 

VIIL.1.5 Review General Order, Chapter 100, Section 107, entitled “Creation
of the Office of the Assistant Superintendent for Criminal
investigations,” to incorporate the changes made in the organizational
structure to comply with the provisions of the Agreement.

Due Date September 2016

 

TCA Assessment

PRPD reviewed above order with TCA input during this reporting
period

 

Recommendations

Continue review in accordance with Agreement requirements

 

TCA Rating

 

 

Timeframe was met

The Commonweaith of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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Activity VIII.1.1.6

 

 

 

 

 

 

 

Develop a General Order establishing the organizational and

VANL.1.6 functional structure of the Bureau of Drugs, Narcotics, Vice Control,
and illegal Weapons, as well as its duties and responsibilities, in
accordance with the Agreement and generally accepted police
practices.

Due Date April 2016

TCA Assessment PRPD developed the above order with TCA input during last reporting
period
Signed by Superintendent Sept/2016

Recommendations | Continue review in accordance with Agreement requirements

TCA Rating Timeframe was met
The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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Activity VIIL.1.2.1

 

Review Regulations No. 4216, entitled “Puerto Rico Police
VIILL.2.1 Department Personnel Regulations,” in its entirety to adapt it
to Public Law No. 53-1995, as amended, known as the “Puerto
Rico Police Department Act of 1996:” to Public Law No. 184-
2004, as amended, known as the “Public Service Human
Resources Administration Act; to other applicable legislation;
and to the requirements of the Agreement for the Sustainable
Reform of the PRPD. The Regulations will also clarify that they
will only apply to the personnel belonging to the PRPD Rank
system.

 

Due Date November 2017

 

TCA Assessment

 

Recommendations | Continue review in accordance with Agreement requirements

 

TCA Rating Timeframe: not due yet

Whether the Commonwealth of Puerto Rico is in compliance with this
detailed step of the Action Plan cannot be assessed during this
reporting period.

 

 

 

 

 

 

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Activity VII.1.3.1

 

Review AO 2015-1-lV, entitled “Administrative Order for Traffic

 

VINLI.S.4 Stops," to adapt it fo the new generally accepted police practices in
relation to the services provided to people and police interventions
with them.

Due Date March 2016

 

TCA Assessment

Pending, waiting approval of the Superintendent.

 

Recommendations

Continue review in accordance with Agreement requirements

 

TCA Rating

 

 

Timeframe was met

Whether the Commonwealth of Puerto Rico is in compliance with this
detailed step of the Action Plan cannot be assessed during this
reporting period because approval of the policy is pending.

 

 

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Activity VIILI.3.2

 

Review Uniform Crime Reporting Handbook (NIBRS).

 

 

VIUILL.3.2
Due Date November 2016
TCA Assessment | Pending, waiting approval of the Superintendent. NIBRS manual

approved Jan 2016.

 

Recommendations

Continue review in accordance with Agreement requirements. Review
Pilot status and forms in July and August with PRPD (see IT Action
Plan Section IV.1.2.1 Table 30)

 

TCA Rating

 

 

Timeframe was met

Whether the Commonwealth of Puerto Rico is in compliance with this
detailed step of the Action Plan cannot be assessed during this
reporting period because approval of the policy is pending.

 

 

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Activity VIlI.1.4.4

 

VIILL4.4

Review the corresponding Memoranda of Understanding with federal
and state agencies to adapt them to the Agreement and establish
requirements that federal agencies must meet to request the services
of PRPD officers, procedures that federal agencies must follow in
relation to MPRPDs assigned to task forces in order to comply with
the Agreement, and required processes, such as training,
performance evaluations and reporting of any incident of improper
conduct or use of force by MPRPDs under their supervision, among

others.

 

Due Date

February 2017

 

TCA Assessment

The PRPD submitted a list of proposed changes. The TCA reviewed
the list, but has not seen these changes implemented.

 

Recommendations

Continue review in accordance with Agreement requirements

 

TCA Rating

 

 

Timeframe was met

Whether the Commonwealth of Puerto Rico is in compliance with this
detailed step of the Action Plan cannot be assessed during this
reporting period until the changes are fully implemented

 

 

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Activity VIIl.1.4.2

 

VIlL-L4.2

Develop an Operations Manual establishing the rules and procedures
that MPRPDs assigned to the investigation units of the Bureau of
Drugs, Narcotics, Vice Control, and [legal Weapons will follow to
incorporate the new and revised policies in accordance with state and
federal laws and generally accepted police practices related to
searches, seizures, arrests, and extraditions, This Operations Manual
will be classified as confidential due to the nature of the operations
conducted, the protection and confidentiality of the logistics during the
time it takes to search for information, the danger of the investigations,
and the security measures that these MPRPDs must take.

 

Due Date

November 2016

 

TCA Assessment

It is the understanding of the TCA that this Manual is currently being
worked on.

 

Recommendations

Continue review in accordance with Agreement requirements

 

TCA Rating

 

 

Timeframe was not met

The Commonweaith of Puerto Rico is in non-compliance with this
detailed step of the Action Plan

 

 

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Activity VIIi.1.4.3

 

Develop a Procedures Manual for Investigators of the Criminal
VIUI-1.4.3 Investigation Corps to standardize the processes
conducted during the entire criminal investigation in order to
meet the fundamental requirements in accordance with the
law and generally accepted police practices and to
safequard the confidentiality of the same. This Operations
[sic] Manual will be classified as confidential due to the
nature of the operations conducted, the protection and
confidentiality of the logistics during the time it takes to
search for information, the danger of the investigations, and

the security measures that these MPRPDs must take.

 

Due Date November 2016

 

TCA Assessment | Procedures Manual for CIC Investigators developed by PRPD and
approved by TCA during this reporting period

 

Recommendations | Continue review in accordance with Agreement requirements

 

TCA Rating Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

 

 

 

 

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Activity VII.1.5.1

 

VHEL5.4

Review Special Order No. 2010-7, entitled “Local Monthly Academies,”
to establish the procedure that will be followed when developing the
continuous monthly training and at the beginning of each shift or service
periods; and to record and certify the discussion of general orders
and/or administrative orders during local “academies” as an alternate
valid method to the training offered by the SAEA in order to supplement
the 40 hours of formal training in accordance with the Supervision and

Management Compliance Area.

 

Due Date

October 2016

 

TCA Assessment

The Special order has been developed, and approved by the TCA

 

Recommendations

Continue review in accordance with Agreement requirements

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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Activity VUII.1.6.1

 

VAILIG.1

Develop a General Order to create the Virtual Library on the PRPD
webpage where all policies and procedures in force, as well as the
different forms, will be published and indexed so that PRPD employees
can easily access them and the general public can also have access to
the information. Thus, people from the community and MPRPDs will be
able to access laws, regulations, policies, and procedures applicable to
the PRPD that are not confidential. A section will be established in this
webpage where people from the community can submit comments
about policies and procedures in process or approved by the
superintendent. The comments will be evaluated and analyzed by the
Office of Reform and, if they are in keeping with generally accepted
police practices and the respective Constitutions and laws of the United
States of America and the Commonwealth of Puerto Rico, they will be
incorporated, as appropriate, during the annual reviews. This activity
is included in the Information Systems and Technology Action

Plan.

 

Due Date

 

 

December 2016

 

 

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TCA Assessment | To date has not been established by IT Bureau. According to IT Action
Plan pending finalization of all policies before implemented.

 

Recommendations

 

 

TCA Rating For rating, see IT Action Plan

 

 

 

 

 

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Activity VIli.1.6.2

 

6.2

Develop an Administrative Order establishing the rules and
procedures PRPD personnel must follow to protect the copyrights of
graphic works and photos and the source codes of software, among
others, produced by the PRPD. (Tabie 15)

 

Due Date

October 2016

 

TCA Assessment

Changed from Administrative Order to a Regulation. The Regulation
requires process through PR Administrative Law. That is ongoing. IT
Action Plan reports pending finalization all policies before
implementing

 

Recommendations

Continue review in accordance with Agreement requirements

 

TCA Rating

 

 

Timeframe was met

The Commonwealth of Puerto Rico is in full compliance with this
detailed step of the Action Plan

 

 

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